Case 2:14-cv-00270-PAM-MRM Document 390 Filed 05/24/17 Page 1 of 4 PageID 12446




                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                 FT. MYERS DIVISION

  Aleksandar Stepanovich,                                  Civ. No. 2:14-270-FtM-PAM-MRM
  Monika Mozolicova, and
  Ivana Kavaja,

                               Plaintiffs,

  v.                                                                                  ORDER

  Officer Kyle Bradshaw,

                          Defendant.
          ___________________________________________________________

         This matter is before the Court on Defendant Kyle Bradshaw’s renewed Motion to

  Tax Costs. Plaintiffs objected to the initial motion for costs, but did not file any response

  to the renewed Motion. Bradshaw’s renewed Motion does not address any of Plaintiffs’

  objections, but is instead substantively identical to the original Motion.

  A.     Standard of Review

         Rule 54(d) provides that costs other than attorney’s fees are allowed “as of course”

  to the prevailing party “unless the court otherwise directs . . . .” Fed. R. Civ. P. 54(d). In

  pertinent part, the statute specifies the costs that are allowed:

         (1)    Fees of the clerk and marshal;

         (2)    Fees of the court reporter for all or any part of the stenographic
                transcript necessarily obtained for use in the case;

         (3)    Fees and disbursements for printing and witnesses;

         (4)    Fees for exemplification and the costs of making copies of any
                materials where the copies are necessarily obtained for use in the
                case; [and]
Case 2:14-cv-00270-PAM-MRM Document 390 Filed 05/24/17 Page 2 of 4 PageID 12447




        (5)    Docket fees under section 1923 . . . .

  28 U.S.C. § 1920. “[A] court may only tax costs as authorized by statute.” E.E.O.C. v.

  W&O, Inc., 213 F.3d 600, 620 (11th Cir. 2000).

  B.    Taxable Costs

        Bradshaw seeks costs of $7,814.43, plus post-judgment interest.          Plaintiffs

  objected to two of the categories of reimbursement:       subpoena fees for document

  custodians, and Bradshaw’s failure to sufficiently document his request for nearly $1,400

  in copying costs.

        1.     Witness costs

        Bradshaw seeks reimbursement for subpoena fees for no fewer than 13 records

  custodians, amounting to $585 of the total $1,410 he requests for witness subpoena fees.

  (Docket No. 387-2.) He also asks for costs of $1,008.56 for these records custodians’

  trial witness fees. (Docket No. 387-4.) Plaintiffs argue that these fees should not be

  included in any cost judgment, because Plaintiffs would have stipulated to the

  authenticity of the documents each custodian was responsible for presenting, but

  Bradshaw did not seek any stipulation in that regard. Thus, Plaintiffs contend, these

  witnesses were unnecessary.

        Bradshaw contends that the costs for these witnesses is taxable because § 1920(3)

  does not limit taxable witness costs to those necessary for the case. But merely because

  the statute contains no limiting language does not mean that the Court need not determine

  for itself whether certain costs should fairly be taxed against an unsuccessful litigant.


                                              2
Case 2:14-cv-00270-PAM-MRM Document 390 Filed 05/24/17 Page 3 of 4 PageID 12448




  Here, the costs sought are a significant portion of the witness costs Bradshaw incurred.

  He could have avoided incurring these costs if he had merely made a phone call to

  Plaintiffs’ counsel. The Court finds that the costs for these witnesses are not taxable

  under the specific facts presented here.

           2.     Copying costs

           In Exhibit E, Bradshaw lists copying costs of $44 for Collier County records and

  $1,355.50 for “Photo Copies of depositions [sic] transcripts, discovery documents,

  photographs and trial exhibits.” (Docket No. 387-5.) There is no further explanation of

  the final category of copying costs.

           Bradshaw has failed to establish that this final category of copying costs was

  “necessarily obtained for use in the case.” He has already claimed the cost of deposition

  transcripts as a taxable cost and Plaintiffs did not object to that cost. Bradshaw offers no

  explanation why additional copies of those depositions were necessary. Nor does he

  explain whether the copying of “discovery documents” was accomplished during

  discovery, or for trial purposes, or for some other reason.         Absent any explanation

  regarding this final category of copies, the Court will disallow $1,355.50 of Bradshaw’s

  requested copying costs. He is therefore entitled to reimbursement for $44 in copying

  costs.

  C.       Post-Judgment Interest

           “[W]hen a district court taxes costs against a losing party, the award of costs bears

  interest from the date of the original judgment.” BankAtlantic v. Blythe Eastman Paine



                                                 3
Case 2:14-cv-00270-PAM-MRM Document 390 Filed 05/24/17 Page 4 of 4 PageID 12449




  Webber, Inc., 12 F.3d 1045, 1052 (11th Cir. 1994). Thus, this cost judgment includes

  post-judgment interest at the applicable post-judgment rate.

  CONCLUSION

        Accordingly, IT IS HEREBY ORDERED that the renewed Motion (Docket No.

  387) is GRANTED in part and DENIED in part and Bradshaw is entitled to recover

  costs of $4,865.37, plus post-judgment interest calculated from February 21, 2017.


  Date: May 24, 2017

                                                  s/ Paul A. Magnuson
                                                  Paul A. Magnuson
                                                  United States District Court Judge




                                              4
